        Case 3:17-cv-00108-GPC-MDD Document 1161 Filed 04/15/19 PageID.123384 Page 1 of 5


               1   THEODORE J. BOUTROUS, JR. (SBN 132099)
                   tboutrous@gibsondunn.com
               2   RICHARD J. DOREN (SBN 124666)
               3   rdoren@gibsondunn.com
                   DANIEL G. SWANSON (SBN 116556)
               4   dswanson@gibsondunn.com
                   JASON C. LO (SBN 219030)
               5   jlo@gibsondunn.com
               6
                   JENNIFER J. RHO (SBN 254312)
                   jrho@gibsondunn.com
               7   MELISSA PHAN (SBN 266880)
                   mphan@gibsondunn.com
               8   RYAN IWAHASHI (SBN 284766)
                   riwahashi@gibsondunn.com
               9   GIBSON, DUNN & CRUTCHER LLP
                   333 South Grand Avenue
           10      Los Angeles, CA 90071
           11      Tel: (213) 229-7000
                   Fax: (213) 229-7520
           12
                   CYNTHIA E. RICHMAN (DC Bar No. 492089; Pro Hac Vice)
           13      crichman@gibsondunn.com
                   GIBSON, DUNN & CRUTCHER LLP
           14
                   1050 Connecticut Avenue, N.W.
           15      Washington, DC 20036
                   Tel: (202) 955-8500
           16      Fax: (202) 467-0539
           17      Attorneys for Defendants, Counterclaimants, and
                   Third-Party Plaintiffs Compal Electronics, Inc.,
           18      FIH Mobile Ltd., Hon Hai Precision Industry Co., Ltd.,
                   Foxconn Corporation, and Wistron Corporation
           19

           20
                                              UNITED STATES DISTRICT COURT
           21                                SOUTHERN DISTRICT OF CALIFORNIA
           22                                                 Case No. 3:17-cv-00108-GPC-MDD
                    IN RE:
           23                                                  DECLARATION RAYMOND
                                                               LAMAGNA IN SUPPORT OF
           24       QUALCOMM LITIGATION                        MOTION TO SEAL TRIAL
                                                               EXHIBITS RELATED TO
           25                                                  FOXCONN AND OTHER CMS
           26

           27

           28

Gibson, Dunn &
                   FOXCONN DECLARAT ION IN SUPPORT
Crutcher LLP
                   OF MOT ION T O SEAL T RIAL EXHIBIT S                     CASE NO. 3:17-CV-00108-GPC-MDD
        Case 3:17-cv-00108-GPC-MDD Document 1161 Filed 04/15/19 PageID.123385 Page 2 of 5


               1   I, Raymond LaMagna, hereby declare as follows:
               2          1.      I am an attorney for Hon Hai Precision Industry Co., Ltd. and FIH Mobile
               3   Ltd. (collectively, “Foxconn”), as well as Compal Electronics, Inc., Pegatron
               4   Corporation, and Wistron Corporation (collectively, the “Contract Manufacturers” or
               5   “CMs”). I make this declaration in support of the Apple and the Contract
               6   Manufacturer’s Motion to Seal Certain “Will Call Exhibits and Deposition
               7   Designations. Unless otherwise indicated, I have personal knowledge of the matters
               8   set forth here, and, if called upon to do so, I would testify competently to them.
               9          2.      I have reviewed the exemplary trial exhibits referenced herein related to
          10       Foxconn, as well as the other trial exhibits that the CMs seek to seal, and all proposed
          11       redactions, along with any deposition designations that Foxconn or the other CMs seek
          12       to seal. Based upon my review, I believe that the portions sought to be redacted from
          13       the public record contain information that Foxconn or the CMs treat as and consider to
          14       be highly confidential business information. To my knowledge, such information has
          15       generally not been made public. For the reasons stated below, I believe the CMs’
          16       redaction requests are narrowly tailored, limited, and justified under Circuit precedent.
          17              3.      As part of my role of representing Foxconn and the other CMs, I have
          18       become familiar with their supply agreements with Apple, license agreements, and
          19       negotiations and audits related to such agreements that are at issue in this case. I am
          20       also informed of the efforts that Foxconn and the other CMs take to ensure that
          21       sensitive licensing and pricing and other customer and supplier-related information is
          22       kept confidential. With respect to Foxconn specifically, I respectfully direct the
          23       Court’s attention to and rely in part here on the prior Declaration of Joe Lam, filed at
          24       Dkt. 73-2, wherein Mr. Lam attests to the confidentiality of the type of Foxconn
          25       records also subject to seal in this motion and to the harm that would befall Foxconn if
          26       those records and underlying facts were publicly revealed without redaction.
          27              4.      I believe there are compelling reasons to seal the specific financial terms
          28       and terms of scope for the CMs licenses and work agreements with other companies,
                                                                 1
Gibson, Dunn &
                   FOXCONN DECLARAT ION IN SUPPORT
Crutcher LLP
                   OF MOT ION T O SEAL T RIAL EXHIBIT S                         CASE NO. 3:17-CV-00108-GPC-MDD
        Case 3:17-cv-00108-GPC-MDD Document 1161 Filed 04/15/19 PageID.123386 Page 3 of 5


               1   including Qualcomm and Apple. While the various general provisions of Foxconn’s
               2   and the CMs license or work agreements may be disclosed publicly, the limited and
               3   narrowly tailored terms that Foxconn and the CMs seek to seal—the key financial and
               4   scope terms from confidential agreements—are governed by confidentiality provisions.
               5   To my knowledge, these terms have been considered as, and treated as, confidential by
               6   the CMs to ensure they are not prejudiced in negotiating future agreements with others.
               7          5.      For example, although it is generally known that Foxconn and the other
               8   CMs manufacture products for Apple and have entered into agreements with
               9   Qualcomm and other licensors, I believe that the specific financial terms (e.g., costs,
          10       unit price breaks, unit counts, up-front fees or charges, profit or value-added margins,
          11       labor rates, warranty and repair fees, etc.) are known only to the contracting parties. I
          12       understand from my representation of the company and from my review of the CMs
          13       negotiation documents that these terms are heavily negotiated and change from
          14       customer to customer and from license to license.
          15              6.      Similarly, I understand from my representation of the CMs and review of
          16       their negotiation documents that the scope of a particular license or agreement can be
          17       heavily negotiated and changes based on circumstance and entity. For example,
          18       whether Foxconn or another CM agrees to indemnify counterparties (and to what
          19       extent) can be a significant concession, as can be the scope of which particular patents
          20       or IP are addressed in the agreement. Again, in my personal experience reviewing
          21       Foxconn and CM contracts, the scope of these terms vary substantially.
          22              7.      Likewise, to the extent a contracting counterparty conducts an inspection
          23       of Foxconn’s or the other CMs’ records to assess contract compliance, based on my
          24       personal experience reviewing the results of such inspections, those results contain
          25       confidential information of the same nature as above. For example, based on my
          26       personal review of the royalty inspection findings at issue in this case, the findings of a
          27       royalty inspection of Foxconn or the other CMs by a licensor such as Qualcomm will
          28       typically reveal detailed data from which unit counts, pricing, and other core financial
                                                                2
Gibson, Dunn &
                   FOXCONN DECLARAT ION IN SUPPORT
Crutcher LLP
                   OF MOT ION T O SEAL T RIAL EXHIBIT S                        CASE NO. 3:17-CV-00108-GPC-MDD
        Case 3:17-cv-00108-GPC-MDD Document 1161 Filed 04/15/19 PageID.123387 Page 4 of 5


               1   terms of the license and of the implicated supply agreements can be extrapolated. The
               2   results of such inspections are also governed by confidentiality agreements and, to my
               3   knowledge, these results have been treated as confidential by the parties at all times.
               4          8.      With respect to Foxconn specifically, as Mr. Lam details in his prior
               5   declaration, Dkt. 73-2, ¶¶ 4–8, and as I understand as well, the public disclosure of
               6   these key terms (and negotiations of these specific terms) would harm Foxconn’s
               7   business and competitive position by disclosing this confidential information to
               8   Foxconn’s competitors and future contracting counterparties. Competitors and future
               9   contracting counterparties would gain asymmetric insight into the confidential
          10       contracting terms to which Foxconn has previously agreed. The public disclosure of
          11       these terms to Foxconn’s customers and potential licensors would thus harm
          12       Foxconn’s business and competitive position because it would give counterparties
          13       information about Foxconn’s contracting and business strategy, which information
          14       they could use to their advantage during future business negotiations. Disclosure of
          15       these specific terms would thus allow competitors, business partners, and licensors to
          16       gain leverage against Foxconn in future negotiations, prejudicing Foxconn.
          17              9.      With respect to customer supply agreements, in particular with Apple
          18       (e.g., DTX02589), Foxconn seeks to seal the specific financial terms (e.g., costs, unit
          19       counts, up-front fees or charges, value-added margins, labor rates, warranty and repair
          20       fees, etc.).
          21              10.     Additionally, Foxconn is seeking to seal personal contact information. It
          22       is my understanding that this type of information is not relevant to the case and would
          23       harm the privacy interests of the individuals. (E.g. DTX02588.)
          24              11.     As shown in the proposed redactions, the scope of these requests is
          25       narrowly tailored, with the majority of the documents being made public. In redacting
          26       the material being submitted to the Court for seal, Foxconn and the CMs have
          27       minimized the scope of redactions so as to redact only the most sensitive confidential
          28       facts. I do not believe that maintaining the confidential nature of the particular above
                                                                3
Gibson, Dunn &
                   FOXCONN DECLARAT ION IN SUPPORT
Crutcher LLP
                   OF MOT ION T O SEAL T RIAL EXHIBIT S                        CASE NO. 3:17-CV-00108-GPC-MDD
        Case 3:17-cv-00108-GPC-MDD Document 1161 Filed 04/15/19 PageID.123388 Page 5 of 5


               1   limited and narrow redactions that Foxconn and the CMs seek will affect the public’s
               2   ability to understand the issues at trial. Thus, the protection to the CMs of the limited
               3   redaction requests far outweighs any potential value of disclosing this information
               4   publicly. In many instances, the information for which redactions are sought are not
               5   even relevant to this case. I have reviewed the applicable legal standards for this Court
               6   and the Ninth Circuit pertaining to requests to seal trial exhibits and believe that the
               7   narrow redaction requests here meet those standards. Therefore, it is my opinion that
               8   there is a compelling reason to seal these limited and narrow portions of documents to
               9   avoid causing significant harm to Foxconn or the other CMs.
          10
          11              I declare under penalty of perjury that the foregoing is true and correct and that I
          12       executed this declaration on April 15, 2019 in San Diego, California.
          13
          14
          15
          16                                                                   Raymond LaMagna

          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28
                                                                4
Gibson, Dunn &
                   FOXCONN DECLARAT ION IN SUPPORT
Crutcher LLP
                   OF MOT ION T O SEAL T RIAL EXHIBIT S                        CASE NO. 3:17-CV-00108-GPC-MDD
